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             1           SUPERIOR COURT OF THE STATE OF (1FOR

             2                    VCR THE COUNTY OF LOB ANGLS

             :3
             4     DEPT 50-4                       HON. CHET L. TAYV   JUDGE

             5

                  aENNIFER PATTERSON, ET AL,
             7                                       )
                                     PETITIONER,
             a
                                                     ) NSQ23O4
             9                                       )
                  VS.
         10                                          )
         11 GREGORY LYONS,
         12                          RESPONDENT,
                                                     1.
         13
         14                 REPORTER'S TRANSCRIPT OF PROcELDINGS
         15                        TUESDAY, FEBRUARY 8, 2011


         17        APPEARANCES:
        is
        19 PLAINTIFF:                 FINK AND ASSOCIATES
                                      BY; KEITH FINX, ESQ.
        20                           BY: OLAF 4ULLER, ESQ,
                                     11500 W. OLYMPIC BOULEVARD
        21                           SUITE 316
                                     LOS ANGELES C1 90064
        22                           (310)268-0780
        23 RESPONDENT:               GREGORY LYONS, IN PROPRIA PEONA
        24
        25
        26
        27               KELLY ROBERTS, CSR #8874, CZ4RS, RUR, CCR
                                    OFFICIAL REPORTER
        28




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Case 2:13-cv-01881-MWF-DTB Document 40 Filed 11/01/13 Page 48 of 86 Page ID #:720




             1   CASE NUMBER:            N5023604

             2   CASE    NAME;           JENNIFER PATTERSON, ET AL
             3                           V. GREGORY          LYONS
             4   LONG BEACH, CA          TUESDAY, FEBRUARY 8, 2011
             5   DEPT, 20-4              HON. CHET TAYLOR, t7tDGE
             6   REPORTER:               KELLY ROBERTS,          CSR #8874
             7   TIME:                   MORNING SESSION
             8   APPEARANCES:            (AS HERETOFORE NOTED.)
             9

        10                 THE COURTt I THINK I'LL CALL THE FIRST MATTER.
        11                 MR . LYONS:     I WOULD ASK THAT ALL WITNESSES BE
         1.2     EXCLODED,
        13                 THE COURTt HO, NOT GOING TO DO TflT.                   B'RE
        14       NOT GOING TO DO THAT,
        15                 JUST TO MAKE THINGS EASIER, MR.              LYONS, I'M
        :1.6     GOING TO CALL YOUR MATTER FIRST.
        17                 MR. LYONS; GREGORY LYONS, DEFENDANT.
        18                MR, NULLERI YOUR HONOR, DO YOU WANT US SEATED
        19       OR STANDING?
        20                THE COURT:       YOU CAN STAND, NOT GOING TO BE VERY
        21       LONG.
        22                MR. MULLER:WE'LL CALL THE FIRST WITNESS.
        23                THE COURT: BEFORE YOU START, I'VE                  rRAD ALL THE
        24       PAPERS. I READ THE DECLARATION OF JENNIFER iTP.9ON,
        25       RANDOLPH TAYLOR, OLAF MULLER. I'VE READ MR. LYON'S
        26       DOCUMENTS. I DON'T NEED Ms. PATTERSON TO                    NNCTTE HEAT

        27       SHE PUT IN HER DECLARATION,                 I READ THESE DECLARATIONS
        28       CAREFULLY.



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             1          AS YOU CAN SEE WE HAVE OTHER CASES SO I GUESS
          2      MY QUESTION IS THISt THIS IS A CASE THAT WAS I GUESS
          3      INITIALLY HEARD BY JUDGE DILORETO BACK IN OCTOBER OF
          4      LAST YEAR, AND I GUESS AT THAT PARTICULAR TIME, THE
          5      PARTIES WERE AT THAT TIME ASKING OR-A RETVRAnTING
          6      ORDER AGAINST MR. LYONS.
          7             AFTER LISTENING TO ALL THE EVIDENCR, JUDGE
          8      DILORETO DENIED YOUR REQUEST FOR A PERMANENT
          9      RESTRAINING ORDER.    I READ THE MINUTES OF THAT HEARING
        10       THAT TOOK PLACE IN FRONT OF DILORETO,        AND MY CONCERN
        3.1      BASICALLY WAS WHAT HAPPENED SINCE THAT HEININO.
        12              AND IN GOING THROUGH            AND IM GOING O
        13       SUMMARIZE THI NGS SO I CAN TRY DO ZXPBDITF        THINGS A

        14       LITTLE BETTER.
        15              SINCE THAT HEARING, IT APPEARS - I'M LOOKING
        16       AT THE DECLARATION OF JENNIFER PATTERSON THAT YOU HAVE
        3.7      IN FRONT OF YOU, IT APPEARS THAT SINCE TTT NEARING
        3.8      -- AND I'M LOOKING AT PAGE TWO, I GUESS        DiNo
        '.9      NUMBER TEN, BASICALLY WHERE MS, PATTERSON I1N3 ABOUT
        20       MR. LYONS CONTACTING HER ON HER FACEBOOK T000NT.
        21       LOOKING AT EXHIBIT C THAT WAS ATTACHED TO THAT
        22       DOCUMENT AND THAT DOCUMENT GOES INTO THE I GUESS THE
        23       FACEBOOK COMMUNICATION THAT TOOK PLACE.
        24              GREG LYONS SAYS TO MS. JENNIFER        PJ "00   'ON, 'I
        25       CAN RESPECT THE FACT THAT YOU TERMINATED 1'
        25       SEPTEMBER 16TH."
        27              MY UNDERSTANDING IS THAT ALL OF TH00 EXTENDS
        28       FROM THE FACT THAT MR. LYONS WAS TRMINATED, AND I



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Case 2:13-cv-01881-MWF-DTB Document 40 Filed 11/01/13 Page 50 of 86 Page ID #:722




             1.      LIEVE MR. LYONS HAS A WRONGFUL TERM I 11T)0N SUIT
             2     ONGOING AND YOU GUYS ARE GODS WITH RESPECT TO
             3     DISCOVERY. I BELIEVE HE WAS DEPOSED. }C cIAS 8NT
             4     INTERROGS AND SOME OTHER MAYBE REQUESTS FOR ADMISSIONS
             5    AND FORMATION OF DISCOVERY. THIS HAS SEEN CUING ON
             S    FOR SOME PERIOD OF TIME,
             7            THE ISSUE REALLY IS WHETHER OR        NOT AR - THING             HAS
             8    OCCURRED SINCE YOUR LAST HEARING THAT tiONCTRATES OR
             9    REQUIRES THAT I   ISSUE A RESTRAINING ORDEP.           lV7,   l'!lH RESPECT
         10       TO MR. LYONS. I'M MINDFUL THERE'S A LA:..LT GOING ON,
         11       AND IF I UNDERSTAND YOUR MOVING PAPERS, IN CSADING
        12        THE FACEOOI< COMMUNICATION, HE IS BASIC:j.,LY TALKING
        13        ABOUT, "ALL RIGHT, YOU TERMINATED ME S"I CER 16TH; I.
        14        CAN RESPECT THAT. YOU TRIED TO GET A RE                NL1ING ORDER
        15        AGAINST ME." HE TALKS ABOUT        THE FACT   Til,            I GUESS TIA
        16        SCHIELLER FILED A DECLARATION WITH HRR j,                      : DR
                  SUMMARY flJDGNET MOTION, TALKS ABOUT KEIYJH .TNK                   WHO   IS
        1$        THE ATTORNEY FOR PACIFIC HOSPITAL LONG C (E ND
        19        DEMANDS THAT THEY ARE MAKING ON HIM, HE              OOEC ON AND ON

        20        AND ON, I DON'T SEE ANYTHING THREATENJc'                      :ur THAT.
        21               MR. LYONS, YOU'RE A DISTRACTION,
        22               MR. LYONS, SORRY, YOUR HONOR.
        23               THE COURT; UNFORTUNATELY, I        HAVE

        24        PERIPHERAL VISION, YOU CAN'T DO THAT TO
        25               MR. LYONS, I'M SORRY. I APOLOcn:',
        26               THE COURT, SO WHAT I HAVE HERH ;•                UT.,LY IS I
        21        THINK HE IS VOOLISH, JUDGE DILORETO                            :IM IN
        28        OCTOBER OF LAST YEAR, LOOK, I'M NOT IOJ



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                                      S


               1    RESTRAINING ORDER,        RUT, YOU KNOW, YOU                !ALKING A
              2     FINE LINE.     IF YOUR CONDUCT CONTINUR; 1 A RESTRAINING
              3     ORDER MAYBE BE      ISSUED.    IF I WAS IN ISST',             I WOULD NOT
              4     HAVE   DONE IT.     THE QUESTION IS WHETHER OR NOT I SHOULD
              5     ISSUE A RESTRAINING ORDER,
              6              THE FACT THAT HE DID CONTACT MS.               PATTSRSON,          IT
              7     DOESN'T APPEAR TO BE THREATENING XNY                    NAY.
              S              SOME OF THE OTHER THINGS THArT j IEVE                             AND
              9     THE REASON WRY YOU HAVE THESE OTHER U:J             'vSSES,         THEY

         10         ARE TALKING ABOUT THE FACT MR. LYONS               7S       UTSIDE THE
         11         FACILITY TAKING PICTURES.         AGAIN, I T:c. 1115 CONDUCT
         12         IS FOOLISH FOR DOING THAT.             I THINK HE IS SETTING
         3.3       HIMSELF U.         BUT,   YOU KNOW, IT WOULD                iKE IF ONE OF
         14        MY PLAINTIFFS GO'J? TERMTNATD, THEY HA                      ', - !RONOUL
         is        TERMINATION SUIT,         THEY GO OUTSIDE TR:c           LItIDING TWO OR
         16        THREE WEEKS LATER AND TAKE PICTURES OF               T        BUILDING;
         17        THERE'S NOTHING WRONG WITH THAT.              THS    X•IE THE              IRST
         10        AMENDMENT RIGHT TO DO THAT,
                            UNLESS YOU GIVE ME ANYMORE, I DONT SEE WHY I
         20        SHOULD ISSUE A RESTRAINING ORDER AGAI                        R, LYONS,            I
         21        DON'T WANT TO HEAR FROM ANY WITNRSS UL                        THEY ARE
         22        TELLING ME SOMETHING NOT IN THE MOVIMc:ERS.
                            MR.   MULLERi         DO HAVE SOME S ;LI0NAIj WITNESS
         24        TESTIMONY AND DOCUMENTS.
        25                  THE COURT:       WHAT ARE THEY COINS        i5rL    SAY?
        26                  MR. MULLER:       HEFORE THAT,      YOUr,. HS'E, PART OF
        27         THE T.R.O. PAPERS REQUIRED MR. LYONS                          N IN HIS
          s        FIREARMS.      I BELIEVE THAT'S MANDATORY.                   LIIER THIS



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               i MORNING, HE 'INFORMED THE CLERK THAT H' HAD NOT TURNED
               2 IN HIS FIREARM. TJ!AT'S IN HIS PAPERS                             HAS ALREADY
               3 VIOLATED THE COURT'S ORDERS BEFORE WS1' TVEN GOTTEN
               4    HERE. TODAY.

               5            THE COURT: OKAY, I'LL TAKE YOU 1.T                  YOUR WORD.
               6            MR. MULLER:         OKAY,        IT'S NOT MY 1O'D, IT'S
              7     MR. LYONS'. P UT MR. LYONS ON THE STMi.) THEN.
             8              MR. LYONS: I WOULD LIKE TO Ai)j.T                      THAT, IF I
             9 COTJT4D, COUNSEL KNEW THAT I WAS LICENTD TY THE STATE
         10 0? CALIVORNIA * -
         LI.               THE COURT: I DON'T WANT TO                HEAR    „,BOUT THE GUNS
         12        ANYMORE.
         13                MR..    LYONS:      WHEEN HE SERVED ME WIT,”: AM         ORDER, IT
         14        WAS BLANK.
         15                THE COURT: I DON'T WANT TO 8E," 1OUT THE GUNS
         16        ANYMORE; YOU UNDERSTAND ME?
         17                WHY DO YOU WANT TO CALL MR. LYON;?
         3.0               MR, MULLER; I WOULD LIKE FOR HIM                   TO

         19        AUTHENTICATE SOME        DOCUMENTS THAT HE SENT TO ME OVER
        20         THE WEEKEND,
        33.                THE COURT:         DID YOU SEND HIM -
        22                 MR, LYONS: YOUR HONOR, GIVEN TL"' 17CT --
        23                 THE COURT          STOP. LOOK AT Ti          flLCfMENT$,      THLL
        24         ME WHETHER     OR NOT YOU SENT HIM THOSE DOCU'i!NTS.
        25                 MR. MULLER, TO HE MORE SECIPTC, OUR HONOR,
        26 MR. LYONS HAS             EMAILED U2, APPROXIHATELY 1               OR 20 TIMES
        27         SINCE LAST THURSDAY.

                           THE COURT          I UNDERSTAND THAT. TT ..SKING FOR A




       LI/9S       3d               33IA83S A3N?i0!J.V Wt'                  V' Tt'39S           ttc,tto
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                                    E
                                    ll




             1     STRAINING ORDER AOAINST YOU
             2             MR. MULLER: NO. IN THESE AIM!, HE IS MAKING A

             3   LOT OF STATEMENTS         ABOUT MS. PATTERSONf, ACCUSING HER OF
             4

             S             THE COURT: lIE CAN DO THAT. HE CAN DO THAT.
             6   I'M NOT SAYING HE IS RIGHT,            I THINY< HE I3 FOOLISH BUT
           7     HE CAN DO THAT           HE HAS A FIRST AMENDMENT RIGHT TO            sy
           $     AHIG HE WANTS             BASICALLY,      UNLESS HR IS TBREATEING
           9     HER.

         1,0               MR.      T.LER; YOUR HONOR, --
         ii.               THE COURT: RIGHT?
         3.2               MR. MULLER: MAYBE I CAN JUST --
                           THE COURT: AM I RIGHT? I WANT TO KNOW.
        14                 NP..   PINK;    KEITH FINK. I WORK ?lITH       OLAF
        Is       MULLER.
        16                 THE COURT:       lIN SENT ?'O     EAI        so?
        3.7                MR.    PINK!    HE DID.

        18                 THE COURT:       I KNOW YOU'RE PISSED     OFF,

        19                 MR.    FINK:   NOT PISSED OFF.        I'M NOT HERE ON MY

        20       OWN BEHALF.        I'M CONCERNED ABOUT JEN        Ci    PATTERSON.

                           HE'S FXXE1J THnss 13AR COMPLAINT

        22                 SUBSEQUENT TO THAT VOINT IN T"               MS HAS HAD
                 TWO LAWYERS.        THE $COND LAWYER TOLD IiI:         NOT TO

        24       COMMUNICATE WITH US.          HR IS TRYING TO FNCOt3RAGE         as   TO
        26       VIOLATE    THE RULES,

        26                 IN THE CIVIL CARN WHICH WE'RE NO             NERE ON

        27       TODAY,    THE CIVIL CAS* i    IS HOT GOING WS).        OR MR. LYONS.

        28       THERE'VE BEEN FOUR VIOLATIONS OF COW'




                                                             -           g3gs      19W.I tTO/tt/e
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              3-        ODRS. IT'S BEEN STPLED UP IN THE LAST L?EW WEEKS,
              2         THERE'S BEEN A MOTION TO COMPEL A MENTAL EXAM --
              3                     THE COURT      I SAD    THAT.
              4                     MR. FINK; AS A RESULT OF THESE HILGATIVE
              5        RULINGS IN THB CIVIL CASE, HIS ANGER HAS BEEN AM?BD
              6        UP. HOW DO I KNOW THAT? HE DQES'T CONNOICATE TO
              7        ME, I'M THE BAD GUY              IN THE FIRM. HE COMMUNICATES TO
        •     8        MR, MULLER DOING MOST OP THE LEGAL WORK.
              9                     IN THE 11 E-MAILS, YOU CAN SEE THLT HIS
            10         BEHAVIOR IS ESCALATING.
            13.                     THE COURT:     WHY DON'T YOU GO TO THAT JODGE AND
            3.2        GWI' A RESTRAINING ORDHR OR SOMETHING - OR PROTECTIVE
            3-3        ORDER FOR THAT CASE?
            3-4                     MR. FINK:     WE     u:: WANT ANY JUDGE         - YOU'RE
            15         FINE TO HEAR THIS,              HE FIRST WENT TO JUDGE DILORETO.
            16         WHAT YOU SAID        -- HEARD 1-115       BEFORE -- ON rAGE 86, WHAT
            17         HE SAID WAS YOU DIDN'T HLVE ENOUGH EVIDIi'M THE FIRST
            18         TIME,
        3-9                         THE COURT:     HE TOLD HIM -
        20                          MR. FINK:     EXACTLY.

        21                          THE COURT:     HE 01).       HE MADE IT VERY CLEAR.
        22                          MR. LYONS, YOU K1IY1, I THINK WHAT YOU'RE DOING
        23             IS EXTREMELY FOOLISH.
        24                          MR. FINK: HB             IF YOU CONTACT
        26            MS. PATTERSON, IF YOU ElAIL HER,                  THEY         BE BACK
        26             HERE AGAIN,        AS    I READ
        21                          THE COURT:     HERE DO ARE.

        28                          MR. FINK:     YOUR H 10?.,      THE FACEBOC)R



                                                                                                000369
                                                              7
                   -- 3k/d ------                                              L 7 -39     tO Ltt lit
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               1    FACEBOOK; YOU AND        I flC' FROM A LITTLE DIFFERENT TIME,
               2           THE COURT:              t'ri ONLY IN MY 20'S.
               3

               4                                       (LAUGHTER)
               S

              6            THE COURT:          CO HEAD.
              7            MR. FINK:         I COT MORE GRAY SHOWING, GETTXNG A

              8    FACEBOOX IN TODAY'S 01' AND AGE,                 OPENING UP A REQUEST
              9    FU MR. LYONS PUT A1)0I               ONAL EVIDENCE.       WE DIDN'T NNOW
          10       AT THE TIME OF THE          FIRST HEARING THAT        MR.   LYONS HAD A
                   FELONY AND IT WAS         FOR t. OTEMPTED MURDER BERE HE
          12       CONSPIRED TO COMMIT ATT}MPTED MURDER, HE KAD SOMEONE
          13       TA<E A PENCIL, PUT IT                 SOMEBODY'S EYE,
          14              THE THIRD PRONC .S.               THIS IS A HARASSMENT CLAIM,
          15       SO THAT'S T1E THIRD                   THINK YOU'RE P111ONG THAT HE
         16        HAS FIRST AMNDNENT RIO:TS, IT'S THE CONSTELLATION OF
          LI       EVIDENCE I THNIC      THAT fONMS         THE HARASEMEor WHICH IS A
         10        CREDIBLE THREAT TO MS. TTERSON. WE'RE ONLY HERE ON
         19        HER BEHALF.
         20               THE COURT:          .Tu!ERsmIw.

         21               MR, LYONS:          IF I AY RESPOND,          Y000 HONOR?
         22               THE COURT:          ARE :QU FINISHED?

         23               MR,    FINK        !'M .INI SHED.

         24               THE COURT           YOU :ANT TO ADD ANYTHfOG?

         25               MR. MULLER: NO, YOUR HONOR.
         26               THE 'COURT:        GO          Afl, MR.   LYONS.
         21               MR. LYOM            JI        I NO ATTEMPTED 1 , 0000R CT MY

         28        RECORD, THIS COURT              CAI' IIHCI< THAT.         'Pii4ENT OF




                                                                                           000370
        Lt/60      3d              3OIA83S   AHHO,L. .'8V                      9799           i.iittiee
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               1    JUSTTCR HAS ALREADY OH! ::TD TH.T. I                      uNrmR    TA1W YOUR
              2     THINKING AND I UWDE T' MR. INK'S AROUMTNT.                                WHEN
              3     WE GET ALTERED DOCUMENT: : INSIDE A CASE, HO KNOW
              4     THEY'RE ALTERED AND JENREP. PATTERSON SIc;'IS '- SHE
              5     SAYS THOSE DOCUMENTS         ARE`     ALTERED. WE FILOD FOR OUR
              6     OPPOSITION TO THE MOTIGH TO THE SUMMARY JUDGMENT.
            7       PLAIN AND SIMPLE, 001MG :0 THE                    JUDGE SAYING THE
            B       DOCUMENTS ARE ALTERED.
            9                  TH COURT;      THE          UE IS WRY DO YOU HAVE -- WHY
          10        DID YOU SEND THESE        E-MA::: S? I THINK THE                   3UE COUNSEL
          1].       IS MAKING -- LOOK, ALL T.HSE THINGS CAN' EP LITIGATED.
          12        MAY EB ISSUES, BUT WHY                YOU HAVE TO SEND E-MAILS?

          13        WHY DO YOU HAVE TO SEND :OMETDING TO MS. Pi\TTERSON ON
          14         'ACEBOOK?
          15                 THAT'S THE      Quoso';         AM I         RIGHT?
          16                 MR. FINK; YES,               U HONOR.
          17                 MR.   MULLERi     NOT uNT HER

          18                 THE COURT: GO P!' AD,
         19                  MR. LYONS:       LET :' ANSWER TO THE

         20                  THE COURT;       THAT        MMI JUDGE DILCuO'rO WAS

         2].        TRYING TO TELL YOU WHEN OQU             '111H   ?RE            fl:H IN 2010,

         22                  MR. LYONS: THAT               TRUE,          WHEN THE' TOOK MY
         23        DEPOSITION, YOUR HONOR, : r:CM UD RIGHT                             ON FRONT
         24        OF ME - -

         25                  THE COURT        YOU ; NOT ANSWERING TNO c)UESTION.
         26                  MR. LYONS:       I'M                           REAL QI .0,      THE
         27        DEPOSITION WAS TAKEN.             1:   Y;o . ULEGED I S.; :1) ALICIA

         28        PATTERSON HAD A DRINEoc                          ;;N. I NEVF        RID




                                                                                                     00037:1
       L 1/0 t     39'id -          3OIAèGS AN0Oii, :T                             E
                                                                                                     t/fl,/Ø
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               I              THE COURT:       I UL': :TSE; NI) THAT,
               2              MR. LYONS:       MLs                         rIHEN   I. GOT 'H' CORRECTED
               3    DEPOSITION, WHEN X STUT:[)                  El'        CORRECT IT              sENT
           4        ALICIA A MESSAGE,
           5                  THE COURTS       WHY CCVbNN'T                  YOU CONTACT           THE
           6        ATTORNEYS?
           7                  MR. LYONS:       I DIN

           B                  THE COURT:       WHY        D 'J RAVE TO SFN'N HER A

           9        FACEOOK COMMUNICATION?
          10                  MR. LYONS:       IIUST SIl';                  TELL HER     1          NOT

          11       COMING FROM ME,
          12                  THE COURT;;     YOU NONE                CENT    IT, MR.        L'(NNS.       YOU
          13       DON'T UNDERSTAND.          DO     () UNERHTAND                   THE POTCIT         THAT
          14       COUNSEL IS MAKING?
          13                  MR. LYONS:       I UN? "\ !3 1i                THE POINT.

          16                 THE COURT:       WI1Z   I      E'             CE.ARY FCN           'EJ TO SEND

          17       HER A FACEBOOK COMMUNICATION

          is                 MR.   LYONS:     WE RENT                 C.   ONE TIME AN         C    FRIEND.

          19                 THE COURT:       WHO

          20                 MR, LYONS        I DI                     -CNT IT TO FIEk                   TIME

          21       AS A FRIEND TO SAY HEY I.               I(

          22                 THE COURT:       DO YOC            P          CTAND YOU 01Cr P0

          23       THAT?

          24                 MR.   LYONS;     NOT I NE

          25                 THE COURT:       WHAT        CC               TELLING YOU,            NOOK,   I

          26       DON'T WANT TO HAVE ANY            N' :P:..               COMMUNICA'JIPH WITH

          27       YOU.

                             MR. LYONS:       R 1:ONI'.         0




                                                                                                                 000372
      -LI/It       39d     ----- - 331NIJ3S?3I1l11. H                                   PRT
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             I            THE COURT;               YOU             AX        I       PERSONALLY,
             2            MR. LYONS                y,:.                                         HAD          TEN ANOTHER

             3   FACEBOOK      - -




                          THE        COURT:        MR,                           DO      YOU         T.ThW'.?TAND?                   ItVE
             a   GOT TO MA10E SURE YOU                    UNDTC.             CD.

             6            MR. LYONS:               I      UCDTT              I D,

             7            THE COURT:               ANYr'1c::                     cj      Y OU        WANT             TO    TELL ME?
             B            MR.        FINK:        WHAT                           ,    IT'S NOT TUCCURATH.                                HE
             9   IS NOT HER FRIEND,                    HNJT:HG                           TO GET T ~ t ,'Aj IOXO OF

        10       DOLLARS FROM HER,                 SUE           FIifi               FtESTRAINII                       ORDER
        11       AGAINST HIM, SO HE IS NO'                                           BEING           CAN),.-`L,'           WITH THE

        12       COURT.     HE IS HARASSING                                   TUE          EXCUSE                :(        GAVE IS
        13       NOT CREDIBLE,
        14                MR         MUtLER;           A1111:1                                                         NOT JUST
        15       JENNIFER PATTERSON                TH?Y             C                Cc:TACTEG.                       ':    HAS

        16       CONTACTED THE 20            -   YEAR-(      -




        17                THE- COURT:              WLC           DH;                 CONTACT                H.         DAUGHTER?
        18                MR.        LYONS:        WE' Or: I                     :'ACTED THEN

        19                THE COURT:               YOU                           .SWERING 'I'D:; QUESTION.
        20                WRY DID YOU COC'                          'I               OAUCHPEN?

        21                MR. LYONS;               TNT              CC'                    'I CON':' iC'rD                   TO TELL
        22       HER AS A FRIEND THESE                                                          RE    IILI',               CADS BY
                 YbUR ATTORNEY THAT Ai:r;                        i...            .:-.AD';'IAS II
        24                THE COURT:               OTCI.                             IINY,           SET               ISI'UT WANT
        25       YOU TO CONTACT HER.
        26                MR. LYONS:               WHT:.                              C'rj,r,



        27                THE COURT:               YOU                   1                       IF     '    t         'ONTINUE
       28        THE CONTACT,         I'M     MAlccc11                                  :•            --              iio    ME i



                                                                                                                                              000373
                                                                                                                                  10 : 1 T    t2/EØ
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                      GUESS . AS: A         AXON           C                   C                                        IS GOING
                2      'O.BE ISSUED INtA .SECON.                                        'OU           VNflEC'CND        THAT1
                      MR       LOS?
                4.               MR. XjONS.:•.       'ES.

                $                THE COYRT;          ANJ               T                    r        Y OU W         P0 TELL M?

                6                MR         NN      No,       '

                7                         CQW1':     I                                                            CLOSB CAW.,,      I
•               B     REALLY DO            009 1 T GET
                9    .. MS. PATTRRS9'$           COCnn.
            10.                 • pASEO:t.T MOVC                                                CiI•IE. I           TALKING.

            11.                  I   m.              MR           1.0,                  lOOP NOW,                P1I DOESN'T

             2        WANT YOU TO CONTACT                          .               .•                   S1APO      OR   FORM.
                        5 ?ROLEM WITH              THE                                      I I CW YOU H.. 0 A PACEEQOIC
            14        IT'S OPEN TO TWE              UBLIc..                .                01

            15                  MR. MULLER               no                L            r        ,.SRIV..

           16                   THE COURT:           TO C.1.                            1 1;         OREE,       10' 'S PRIVATE.

            17       TO. A CERTAIN DEGREE,                :r'                  .            TO       THE PUL ;.IC.

                                MR.PINK:            IN                                                              CAN SEND A

           19        MESSAGE.         HE IS SAYING :                       .:           A               SAGE       P A FRX8ND

           20        WHO HE IS TRYING TO MAO.,

           21                   WHAT WE COULD A.,                                            O.)ED                           THE

           22        EMOTIONAL DISTRESS              S1C      .......                   RP.,             MA'.       YOU COULD

           23        ISSUE THIS           FOR A MOE P .                    ..           PP            ''EON Tl    NT THREE

           24        YEARS.

           2$                   WHAT I'M CONCEo:!                                                '      MAyo C

           26        JUDGMENT HEARING ON TFOC                                           IT: ....,NX(           :oo i a A GOOD

           27        CHANCE WE'RE GOING TO

           20                   THE COURT.          THo                •                               .R .......    wzm




                                                                                                                                    000374
           t/t             -                OIA3S A30                      •                                         • 799
                                                                                                                               Ia:it It/tt/
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                                  S

             1            MR.   RINK:    THE ,;                         Z\

             2    THERE'S A JUDGMENT                                   AM.             AS — '-'SE MOUND                       I
             3    SEE RE IS GETTING MOR'                              RE          YGRAVJ              D.        LIMITED

             4    DURATION, SIX MONTHS                    ,                                  I        :ASSES,            HE

             5    MOVES ON TO THE NEXT N                                                    WA        S TO

             6    TERRORIZE.
             7            TH    COURT     I                            3.         IM NO:.             DOING XT.

             a    THINK YOU ARR CLOSE.                                                 A CL          'E CALL.             I

             9    THINK IT'S SO CLOSE,        x:                       OK              CO            JW      FL IPPSD

         10       IT, THAT'S HOW CLOSE I                              rT          ..

         11               X'M MINDFUL OF              '   N:

         12               I'M ALSO MINOFU                 j Ili                         IF I          ESSOED A

         13      RESTR?1NING ORDER, IN                        O.                       LL TN.               'NDARDS,

         14      I DON'T KNOW,     IT WILL                             IC                             JSSCOL'T8 TO

         .5      MR.   LYONS,
         16               I'M MINDFUL OF                               0 cl             ON           I 'H

        17       MISS PATTERSON.
        18                THE PACT YOU                                 i,IE        'CK IN                   MULTIPLE

        19       OCCASIONS,     THAT'S ROW        .           SF            NI     c IT I

        20                THIS IS GOMETNJ                             '1 C             '31DXL          ) CERXGHT.

        21       I TOOK BOTH OF ThESH                                       Th         OLD C:               FOME.             I

                 TOOK YOUR CASE HCMX NI'                                     U            T8P         'CR ALL THE

        23       DECLARATIONS,      EVN Tli                             IG,             NSNT                    AM

        24       FORTH WITH MY STAFF ON                                                illisy               VERY

        26       FAMILIAR WITH THE CAS:                           ;         0 3        IANT                 JOF YOU

        26       KNOW THIS IS A CAGE 'AL                                     53           US                      RAT ION

        27                IN LIGHT OF ALL                                                              TH3        ARE

        29       INVOLVED AND THE PARTJ                                     ED           PHI'              IT        A




                                                                                                                                  000375

       Lt/       39d             301A?436 ANT.                                                   1          :'5          ISLt     I10/tt,/60
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             I   CLOSE CALL.        IM NOT                 TL'HE                  :iT1ZA        Thfl ORDER AT
         2       THIS POINT IN TIME,             UtJ                        I         QI        TO TELL

         3       MR. L!olqs, ONE MORE                                  I 0,r,          THY:(      THAT WILL
         4       BE IT; THE PATTERN WI'.                           'r' •               TT?)f     tG YOU RIGHT

         S       NOW,   IT WON'T EVEN BE               .               CAL..

         6                  MR.   LYON       I LrL:                  m,          •OR Hc1TC,

         7                  THE COURT:       TI
                                                                   A       A13L117 MS             TTERSON,

         8       TALKING ABOUT HER DZU                     R        tIKI               IT       NYOHE

         9       RELATO, ANYONE TANGU'                             'ELA          D 1,111f ,     HER,    'HAT'S
        10       IT,    THE RESTRAINING L                              L 1       :usu
        11                  AT THIS POINT Th                           IL             t' i:      ANG IT.

        12       HOPEFULLY,       I WON'T Sv                           S It            ,        VOUGH I

        13       THINK THERE'S A          SLIGHT

        14                 MR.    PINK:     Tot                     )E YC         .    RU'

        15                  THE COURT:       M                     ES V          :L CL

        16                 MR.    PINK:     NHE            1               A          IGh       TH?NCE," THE

        17       OTHER CONCERN W8 HAVE,                                    A                     C FACILITY.

        18       HE IS CIRCLING .ZEOUND :                                  U               UL   [YTY,    THERE

        19       IS PATIENTS.        WE DON 'T                         AT I           is           TO DO.

        20                 THE COURT;        H                         01-iT      - YOL           NT STOP

         .       HIM GOING OUTSIDE THL I                               .              YOU         ITO TAKE

        22       PICTURES -

        23                 MR,    PINK:     NO,                I           I     IS                    TO GO

        24       OFF,   SURE.      IT'S HAD        I                   Ti                        S(Ti tIhY BE

        26       INJURED.        THERE ARE 01                              1'N         TiTi            ARE THE

        26       PATIENTS.

        21                 THE COURT:        I                             IA[        S.            S IN THE

        28       PAPERS.     I AGREE WILL




                                                                                                                    000376

                                   33IAeiN3 ANL:
                                                                                                               LE
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              _____-----------------                            ------

         1            MR    LYO2,    YOU              ;:                    TIGHT           U.    I

         2    DON'T KNOW HOW TO       XPU.-------               )    YCT.

         3            MR.   LYONS:

         4            CAN I ORDER A                       CT,'-'

         S            THE COURT:      YOU                       ( I         3UT U       H   flI   COURT

         6    REPORTER.
         7            MR, LYONS.      CAN         -                 COU.      OF Ti

         8

         9            THE COURT:      YOU     - U               7BL'        GET A CODY IN Tt

       3.0    MAIL.
       11             THAT'S IT FOR '---

       12             GOOD LUCK TO YOL                              'FT - L - flOp

                      THE BAILIFF;                    - -                       A    --. - IN THE
       13

       14     AUDXNCE.
       15             MR. LYON S:     LU2             -

       16

        17                       ( PROCE:                   U       ICL ED . )

       3.8

       19

       20

       23.

       22



        24

       26

        26

        27

        20




       L/91   39d             30IAèiS ANOOtk. -                                                       T:Lt Ito2/It/c
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               I              SUPERIOR COURT                   THE :'LATE 0)1 C:JI PORN IA

               2                         FOR THE CC.            YO       LOS   PNCELJS

               3    DEPT. 504                                      ]HON, CHET L. TAYLOR, JUDGE

            4
            5 JENNIFER PATTERSON, ETA,

            6                                               ETE.TIONCR,
                                                                                           NS023 604
            •1      VS
            9 GREGORY LYONS,                                                           ;
                                                                                           CERTIFICATE
           9                                               RE 3NDR"Cl'

       10

       3.1

       12

       13

       3.4

       3.5                    I, KELLY ROBERTS,                 R 874, OFFICJ. .L           REPORTER OF
       16          THE SUPERIOR COURT 0 17 T'                            0)1 CALIF'(HNTh,       FOR THE
       17 COUNTY OF LOS ANGELES, u HER)1C CRTZ?Y                                           HAT THE
       19          FOREGOING ?AGES            1 THR0U:: 3.5, NCLUSXVE,                     0MRISE
       19 A TRUE AND CORRECT STT'NT QY THE pROC:DIGS TAKEN
           o       IN THE ABOVE-ENTITLED M.                    ER ON FEHRU\R .), 2011.
       21
       22                     DATED T14-IS       7TH DJ'Y F NJ0CR, 2011.

       2

       24

       25                ..                                       C1%      874,   c:       , RD I CCRR

       26                                     (0F)0'. L REPORTER




                                                                                                            000377
      4111I39Vd                       .............   AT
                                                                                                     I:Lt
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                                 Proof of Service of                                                                         Cloth stamps dote horn when   (offn   is filed.
                                 Response by Maki
            Petitioner (Employer)
            Name:  Keith Fink
       ® Employee in Need of Protection
          Name: Olaf Muller

       (    Respondent (Person From Whom Putection is Sought)
            Name: Greg A.Lyons
                                                                                                                       .11 in court name and street address:
            Notice to Server                                                                                           :uperlor Court of California, County of
       ()
            The server must:
            • Be l8 years of age orolder;                                                                              Los Angeles, South District
            • Be a resident of or employed in the                                                  '\
               county where the mailing took place;
            • Not be the respondent;
                                                                                                                            in case number
            • Mail a copy of all documents
                                                                                                                            se Number:
               checked in ® below to the petitioner or
               the petitioner's lawyer;                                                                                     5023726
            • Complete and sign this tbrnt         in.l   give it to till
               respondent.
                                                          PLOOF h,; SERVICE LY MAlt
             I am 18 years of age or older and not i party i his proceeding. I am a                                    ml of or employed in the county
             where the mailing took place. I nialhd the       :ner or the petihn er                                    racopyof ,
            a. Form WV-120, Response to Peiizicw for . Srs to Stop iVorI;./KC                                                    (completed)
            b [1 Other (specify) RequestFor JUd- k       Nocc Ut            iLlu                                                 ice Code 450 et seq

             I placed copies of the docunieos listed abovi scale,                          'vuL          iit iiu             hem    as described below:
            a. Mailed to ('name):Olaf Muller
            b. Mailed from: City Carso n    ,                           .   .         State; C5i                       .     On (date): 03/26111
            d. Tothisaddress: Olaf Muller EflQ115u                              OlyeapcPk;. !(3'1f
                City:   Los Angeles                                                                       htyu             lif            Zip:   90064

            Server's Information
            Name: Howard Green
            Address: 5413 SAvalon Blvd
            City: Los Angeles                                                                           .. ..±:                           Zip: 90020
            (!fyou are a registered process .u'rer):
            County of registration:
            I declare under penalty ofperjuiy                     he !a.        sOLe Stale          .     ;        '        the information above is true and
            correct.
            n       3/26/11

             Howard Green
             Tvve or vrint server's name

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         RICHARD D. ROME (SBN 77936)
         Attorney at Law
         7100 Hayvenhurst Avenue
         Penthouse Suite C
         Van Nuys, California 91406-3804
         Telephone:   (818) 994-8761
         Facsimile:   (818) 994-1891

         Attorney for Appellant
         GREG LYONS




                    APPELLATE DIVISION OF THE SUPERIOR COURT

                   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES


         PEOPLE OF THE STATE OF               Case No. BR050319
         CALIFORNIA,
                                              Trial Court No. 2WA00963
                    Plaintiff and
                    Respondent,

         VS.


         GREG LYONS,

                    Defendant and
                    Appellant.



                             APPELLANT'S REPLY BRIEF




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                                                                            (2)
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              Appellant submits the following in reply to the
         government's brief:


                                         I

                       APPELLANT DID NOT WAIVE THE DOUBLE
                        JEOPARDY ISSUE AND THIS DOCTRINE
                       SHOULD BAR APPELLANT'S CONVICTIONS

              In his opening brief, appellant argued that his case

         should be barred on double jeopardy grounds since he had

         already been tried and acquitted for criminal contempt. In

         its response the government argues that the issue was

         waived because appellant never formally entered a plea

         making this specific claim. The government relies on

         People v. Memro (1995) 11 Cal.4th 786 and People v. Anderson

         (2009) 47 Cal.4t 92 for this proposition. However, in both

         cases it appears the issue was first raised at the

         appellate level (although both courts decided the issue

         anyway) . Here, Mr. Lyons did raise the issue prior to

         trial when he moved to dismiss the case on double jeopardy

         grounds. Thus, the issue was raised and should be deemed

         preserved.

              With respect to the merits of the motion, it should

         have been granted. As noted in the opening brief,

         appellant specifically raised the double jeopardy issue

         during a hearing prior to trial. He argued that there was

         a contempt hearing, and that it had been discharged after a

         finding that no violation occurred. In its brief, the



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         government now argues the evidence was not sufficient to
         support appellant's position. Appellant disagrees. During
         the hearing of July 2, 2012, when the issue was raised,
         appellant explained in depth that there had been a criminal
         contempt hearing; and that he could have been sentenced to
         jail. (RT 3-6) In response, the government attorney
         stated that the court understood it not to be a criminal
        proceeding, but further stated "it's a criminal prosecution
         for a violation of a restraining order." (RT 6) In
         essence, it appears the government's attorney acquiesced in
         the position that a criminal proceeding occurred. Thus,
         the trial court's analysis that double jeopardy did not
         apply was wrong. (RT 4-6) Appellant put forth evidence on
         the issue that was not rebutted by the government. Because
         the case had previously been decided, the convictions
         should be reversed.


                                        II

                         THERE WAS INSUFFICIENT NOTICE
                     AND SERVICE OF THE RESTRAINING ORDERS

              In his opening brief, appellant argued that he was not
         properly served with the restraining orders and therefore
         the notice element of the offense was not proven. The
         government argues that personal service was made on
         appellant and, in any event, the notice requirement was
         proven through the testimony of complaining witness Keith
         Fink and Exhibit 5, a copy of a portion of the transcript



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         at the contempt hearing. (Respondent's Brief,      pp. 10-11)
         However, a review of Exhibit 5 reveals that appellant was

         not even told of the parties who obtained the orders,

         merely referring to them as petitioners. Further, attorney

         Fink's testimony was not reliable and, was objected to, as

         noted in Argument IV of appellant's opening brief.

              With respect to service of the orders, in this

         instance this should not be allowed to form the basis of

         the notice. As noted in the opening brief and acknowledged

         by respondent, the proofs of service were not properly

         prepared and filed for all restraining orders, Exhibits 1-

         4. Exhibit 4 had no proof of service, and Exhibit 3 had

         the wrong proof of service. How can service be deemed

         proper under the circumstances? With service improper, and

         the court proceedings questionable, this court should find

         that the notice element was lacking. Therefore, the

         convictions should be overturned.


                                        III

                       APPELLANT SHOULD HAVE BEEN ALLOWED
                            TO PRODUCE EVIDENCE ON THE
                        VALIDITY OF THE RESTRAINING ORDER

               In his opening brief, appellant argued that he should

         have been allowed to produce evidence as to the validity of

         the restraining orders. The government argues that

         appellant never specified the issuing court's error, and

         that the trial court even erred by including the phrase

          "legally issued" in the jury instructions. First, since


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         appellant was foreclosed from producing any evidence, there

         was no need for specificity as to the error. Further,

         since the court did include the phrase "legally issued" in

         the jury instructions, this opened the door for evidence to

         be presented on this issue. In other words, because the

         orders had to be "legally issued", the evidence should have

         been allowed on this point.



                                        IV

                     THE TRIAL COURT ERRED IN ALLOWING INTO
                    EVIDENCE: (1) ATTORNEY FINK'S TESTIMONY
                         AND, (2) THE HEARING TRANSCRIPT

              In his opening brief, appellant argued that attorney

         Fink should not have been allowed to testify what the trial

         judge told appellant concerning the orders. He argued this

         was hearsay. Respondent argues this is not hearsay but

         rather "operative facts to show defendant had notice    ...   and
         that he knew of the order." (Respondent's Brief, p. 10)

         The problem with this analysis is that attorney Fink

         testified as to what the judge told appellant. He did not

         testify as to what appellant stated, but what the judge

         stated. This is clearly hearsay, with no applicable

         exception. Evidence Code Section 1200(b). Thus, because

         this testimony was not admissible, and impacted the case

         negatively, as detailed in the opening brief, the

         convictions should be set aside.




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              Likewise, it was error to allow Exhibit 5, a
         transcript of the restraining order hearing on November 17
         and November 18, 2011 to be admitted. As previously noted,
         this evidence was cumulative, irrelevant and prejudicial.
         This extraneous information was merely designed to fill in
         a gap through means that should not have been allowed.


                                        V
                              THE STATE BAR LETTER
                           SHOULD HAVE BEEN ADMITTED

              In his opening brief, appellant argued that it was
         error to have excluded a warning letter from the State Bar
         of California. The letter, Exhibit A, admonished attorney
         Fink concerning his conduct toward appellant. Not only did
         the letter express appreciation for appellant's conduct,
         but was to give guidance to Fink for future conduct. This
         was classic impeachment material and was relevant for this
         purpose. Evidence Code § 210. Fink was a key prosecution
         witness and his testimony was important evidence.
              The letter was not hearsay, as Fink acknowledged its
         authenticity and that he received it. This was sufficient
         to withstand the hearsay objection. With respect to the
         argument that it was cumulative, it surely was not. It
         would have more fully explained the situation to the jury,
         not that attorney Fink had merely received it. This was
         crucial evidence because Fink was the key witness in the
         case. This could very well have made a difference, and the



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         exclusion of this evidence was harmful and prejudicial to

         the case.


                                        VI

                            THE COMMUNICATIONS WERE
                           AUTHORIZED AND PRIVILEGED

              Appellant argued that the communications to the

         attorneys were allowed, since appellant was his own

         attorney on the appeal of his restraining orders. The

         government argues that none of the emails involved service

         of legal papers, but acknowledges that some refer to the

         "labyrinth of litigation," and that all violated the

         orders. Appellant disagrees with this, as the emails were

         all legal related. Exhibits 7 - 41 all refer to the TRO5,

         the appeals and the Ninth Circuit, state court and legal

         matters.

              While technically the emails did not involve service

         of process, they surely involved appellant's right to free

         speech and to represent himself. U.S.C. § 1654. The

         convictions should be set aside.

              With respect to the litigation privilege, appellant

         argued in his opening brief that his communications were

         privileged, and as such were immune from criminal

         prosecutions. He cited to Civil Code section 47(b) and

         related cases. While the government cites to cases that

         indicate that this section may not apply to criminal cases,

         by analogy this court could also find that the privilege



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         applies, even if not specifically under 47(b). There is no
         reason for this court not to make such a finding. Because
         this was important to the case, a reversal is necessary.


                                     CONCLUSION

              Based on the foregoing, the convictions should be reversed.

         DATED: October 8, 2013           Respectfully submitted:



                                          RICHARD D. ROME, ESQ.
                                          Attorney for Appellant




                                          '1
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              COURT RULE 8.883 (b) (1), CERTIFICATE OF COMPLIANCE
               Based upon the computer program used to generate

         Appellant's brief, I certify that this document, including

         footnotes, contains 1,503 words.

         DATED: October 8, 2013


                                         RICHARD D. ROME
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     FINX & ST N10 / EALTHSM             PACIFiC, INC. V. LYONS.



         Subject: Re: flNK & STEINBERG / HEALTHSMART PACIFIC, INC. V. LYONS, Case Nos. MS023726,
         NS023727, NS023728, N5023758
         Frrn: Greg Lyons <lyon.gragsbcglobeLnet>
         Date: 12/13/20116.15 PM
         To: Olaf Muller ornulFer@finksteirtberg.com >
         CC: kffnk@firksteinberg.com , Andrew Snith andrewsrrythsrnvthandsmyth.com >,Ardrew
         Smyth <asrushtowngmail,coni>, kstefnhergtfinksteInbergcorn, 'b. kwaku duren"
         <bkwkudurehIgrne1Lcorn> 1 b. kwaku duren" <bkwakuduren@msn.com >, cbjcatbarca.gov

         Mr. Muller,
                     You are free to apply for any ex-party application in Long Beach Calif. But you should be
         advised that the four eases are on appeal. Judge Taylor has no control over the appeal. Judge Taylor
         r-=idefPd his decesion on Nov R. 2011. You cant crnplain about a appeal, You are free to go to Judge
         Taylor with your cornjplaint but the ease is on appeal,


         Frottt Olaf MuUer <omullerfinkateinber.corn>
         T: Gre9 Lyons <lyons regsbcglobaLret>; KEITH FINK <kfink©finkla.wffrm.corn> Olaf 3.
         Muller <omuller@finksteinberg.com >
         sent- The, December 13, 2011 :1353 PM
         Subject., FINK & STEINBERG / HEALTHSMAT PACIFIC, INC. V. LYONS, Case Nos. NS023726,
         N5023727, NS023728, NS023Th8

         Dear Mr. Lyons.

        Please take r,ctiss that on Thursday, December 15, 2011 at 30 ant in Dept 4 of the Los Angeles Superior Court
        - South District located at 416 Ocean Blvd, Long Beach, CA 00802, Petitioners l-leatthsmart Pacific, Inc. and Fink
        & Steinberg, acting on behalf of employees Jennifer Patterson, Tis Schiller, Keith Fink and me, will apply exparta
        for the Court to set an Order to Show Cause hearing me your contempt of the four permanent restraining orders
        issued.agstnst you In late November 2011,

        This ax perle appiic5tion will be based on the fci that you have repeatedly violated all four orders which.
        expressly prohibit you from sending any f5xes or email messages to me, Keith Fink, Jennifer Patterson, at ha
        Schiller, directly and indirectly, reardiesa of th5ir substance, You have sent us over fifty email messages in the
        peat couple weeks and you have faxed us approximately 150 pages of faxes, all in direct violation of the four
        permanent restraining orders. In short, you have acted as if there are no permanent restraining orders In place,
        such that the Court's enforcement of the same will be necessary. We will ask the Court to find you in contempt of
        the four permanent orders and sentence you to jail time for your repeated violations,




        Olaf J. Muller
        FINK& STEINBERG
        11500 Olympic Blvd
        Suits 316
        Lo Angeles, CA 00064

        TeL. (310) 268-0750
        Direct Dial (310) 473-6277
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  Re: FINK & STEIN'BERG   / UEALTHSMART PACIFIC, INC. V. LYONS,..


          Subject: Re: FINK & STEINBERG / HEALTHSMART PACIFIC, INC. V. LYONS, Case Nos. NS023726,
          NS023727, NS023728, NS023758
           From: Greg 'Lyons <iyons.gregsbcglobal.net >
           Date: 12/13/20117:14 PM
          To: Olaf Muller <ornuller@finksteinberg.com >
          CC: kfink@finksteinberg.com , ksteinberg@finksteinberg.com , 'b kwaku duren"
          <hkwekudurengmail.com >, 'b. kwaku duren" <bkwakudurenrnsn.com >, Andrew Smyth
          <andrewsmyth@smythandsmyth.com >, Andrew Smyth <asrushtowngmail.com >

          Mr. Muller,
                        Judge Taylor can not hear this motion. The case is on appeal. Greg L


          From: Olaf Muller <omuller©finkstein berg, com>
          To: Greg Lyons <Iyons.greg@sbcglobal.net >; KEITH FINK <kfink©finklawfirm.copi>; Olaf).
          Muller <omuller©finksteinberg,com>
          Sent. The, December 13, 20116:18:49 PM
          Subject- FINK & STEINBERG / HEALTI-ISMART PACIFIC, INC. V. LYONS, Case Nos. NS023726,
          NS023727, NS023728, N5023758

          Dear Mr. Lyons,

          Please take notice that on Thursday, December 15, 2011, at 8:30 a.m. in Dept 4 of the Los Angeles Superior Court
          - South District located at 415 Ocean Blvd, Long Beach, CA 90802, Petitioners Healthsmart Pacific, Inc. and Fink
          & Steinberg, acting on behalf of employees Jennifer Patterson, ha Schiller, Keith Fink, and me, will apply ex parte
          for an Order Shortening Time on their concurrently-filed Motion to Reconsider its previous denial of Petitioners'
          Motion to Declare you a Vexatious Litigant.

          This application will be based on the fact that you have recently filed a notice of appeal of your wrongful
          termination case, months after the applicable appeal deadline expired. This application is also based on the fact
          that you have recently threatened to file new actions against PHLB and this firm, and you have continued to
          pursue your meritless federal claim against Petitioners through to the Ninth Circuit Court of Appeals. This endless
          litigation of already-adjudicated claims must stop, for which reason Petitioners will ask the Court to reconsider its
          prior denial of their Motion to have you declared a Vexatious Litigant.




          Olaf J. Muller
          FINK& STEINBERG
          11500 Olympic Blvd
          Suite 316
          Los Angeles, CA 90064

          Tel. (310) 268-0780
          Direct Dial (310) 473-6277
          Fax. (310) 268-0790




         THIM$AGES INTENDED ONLY FOR THE USE OF THE INDIVIDUAL OR ENTITY TO
         WHICH IT IS ADDRESSED, THIS MESSAGE MAY BE AN AT TORNEY-CLIENT
         COMMUNICATION, AND THUS MAY CONTAIN INFORMATION THAT IS PRIVILEGED,



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          From: Greg Lyons
          Date: April 22, 2012 8:30:01 PM PDT
          To: Andrew Smyth <and rewsmyth smythandsmyth .com>, Andrew Smyth
          <asrushtown ©qmail, corn>
          Cc: "b. kwaku duren' <bkwakudurenc mail. com >, 'b. kwaku duren"
          <bkwakud urenmsn .com>, kfin k(finksteinber . corn, ksteinber(finksteinberq . corn,
          cbftcalbar. cacjov
          Subject: Follow Up Investigation To Fake Police Report Of Olaf J Muller Calif
          Penal Code Section 148.5




                                                                           (Yk           1)
Case 2:13-cv-01881-MWF-DTB Document 40 Filed 11/01/13 Page 81 of 86 Page ID #:753

t




    fwd wd. Follow Up !;vesti gad onTo False Police RWortOfOlaf..



                Andrew,
                           A 1 hour taped meeting took place, it was a .follow tup investigation as to rather or not
                they are going to charge Olaf J. Muller with filing a false police report, and several other counts.
                He made a police report stating that r had sent 17 e-mails in violation of a court order. They have
                a copy of the motion to consolidate, along with who is the attorney of record etc. It could be
                about 2 -3 weeks it depends on how long it takes to read through each brief etc.she has each
                e-mail ofiau 21-24 and the case NS023604. She alo has the original complaints and who is the
                attorney of record. She read his declaration and his allegation of the Torrance Courthouse. Greg
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                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

  DATE:   02/14/12                                                                          DEPT. 0
  HONABLE     Michael P. Vicencia                JUDGE      D. Oura                     DEPUTY CLERK
                                                            M. Alvarado, C.A.
  HONORABLE                             JUDGE PRO TEM                                 ELECTRONIC RECORDING   MoNrrok
              M. Murphy                    Deputy Sheriff   B. Nagata CSR#12268                 Reporter

   8:30 am NS023726                                         CounseUor     Olaf Muller (X)
           In RE the Matter of:                             Petitioner    Healthsmart Pacific
           HEALTNSMART PACIFIC INC.
           VS                                               Counsel for
           GREGORY LYONS                                    Respondent

               CCP.170.6 JUDGE KLEIN BY RESP.
               ALL Y.OLS SENT TO APPEALS
                     )
                     .;



               NATURE OF PROCEEDINGS:
              'a-



               ORDER TO SHOW CAUSE RE: CONTEMPT

               Matter is called for hearing.
               No calls or appearance by Respondent.
               The Order To Show Cause Re: contempt is ordered
               discharged.
               Moving Party to give notice.




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       All Mail
                                    Keith Fint <kflnlc©finksteinberg.com >                            Fri Apr 27 2012 at 12:51 PM

       Trash                    To: °gail.shallowhorn©lacity org <ga it. shallowhornlacity.org > Olaf Muller
                                 omuller@finksteir,berg.com >
       Contacts                 Reply I Seex'ie.aB I Eerewisi I EqW I Qelale I Show ortgiEja
       Labels
       Education                  Dear Ms. Shallow Horn
       Follow Up
       rl ?e- 2                   Mr. Lyons continues to violate the courts restraining orders and harass/stalk me, Mr. Muller and
       Linda Hui                  PHLB. He is prohibited from e - rnailing me but continues to do so. He is prohibited from doing
       Mist                       Internet searches on me but continues to do so. Here is his latest attempt to harass me, This e-
       oeronaI                    mail was sent to opposing counsel in a case I have in federal court (it settled but Mr. Lyons
           toal/rnem.             doesn't know this). He only could have found this out by doing a search of the cases I am
       EtiQfltt                   handling. We know he does this as in various e-mails he includes on the cc line numerous
                                  attorneys who we have cases with my firm that have nothing to do with PHL8 or Mr. Lyons.
       Edt labels
                                  Adding to the scary nature of all this is the fact that Mr. Lyons has a violent past is mentally
                                  disturbed, I have never met or spoken with Judge Nguyen. I have never appeared before her.
                                  How could I have close ties with her? Judge Taylor never ruled on behalf of Judge Nguyen.
                                  JW could a superior court rule that a federal judge must racuse herself from a federal matter?
                                  He is crazy but knows what he is doing is harassing-that's why he is doing this.

                                  Please let me know if I should tile a police report and what I can do to help the City Attorney on
                                  this matter.

                                  Thank you.

                                  Keith A. Fink
                                  Fink & Steinberg
                                  11500 Olympic Blvd, Suite 315
                                  Los Angeles, California 90054
                                  31 0-26e-0782 (rid)
                                  310-268-0790 (fax)
                                  www.finklawfirm.com (web)


                                  Begin forwarded message:

                                                Front: Greg Lyons <Ivons.oregsbcalosLn.f>
                                                Date: April 27, 2012 12:14:01PM POT
                                                To: jyflfoxrothschild.corn, LhoIlomanifoxrothschild.com
                                       --
                                                Cc:     lefiksteinero.com , kstainbero(aflinksteinbero.grn, "b. kwaku duren'
                                                <Dwakudurenn&itm> o kwaKu duren <bkwudu snrsjcom-
                                                Andrew Sm'th                                          Andrew Smyth
                                                     5ijownomailcorn>



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